Case 4:20-cv-00980-KPJ Document 61-2 Filed 12/17/21 Page 1 of 3 PageID #: 3045




                                  EXHIBIT 2

                           BioEye Unpaid Spreadsheet
                         Case 4:20-cv-00980-KPJ Document 61-2 Filed 12/17/21 Page 2 of 3 PageID #: 3046
                                                 CONFIDENTIAL INFORMATION


                                                     Mandatory/O
Category/sub               Amount (NIS) Amount ($)                 Due date Details/comments                             3.7875
                                                       ptional

                                                     March
           Salaries              28,958     $7,700      M           ASAP     61,042 NIS paid, Pending: Rotem's invoice
           Benefits                   0         $0      M           Auto     Paid for Feb20
    HR
           Tax                    8,400     $2,300      M          20-Mar
  (Feb20)
           Nat.Insur.            12,500     $3,400      M          20-Mar
           Outsource                750       $200      D           ASAP     Electrician
Equipment                           100       $100      M          10-Apr    4,244 NIS paid for screens
IP                                         $12,100      O          March?    2nd patent: national (US+Japan)
Clinical                         41,360    $13,000      D          March     Final Sheba Payment + insurance
Office Apr20                          0         $0      M          15-Mar    Assuming they'll be using the deposit!
Legal Feb20                       2,500       $700      D          March     Estimate
Accounting Jan20                                $0      M          10-Mar    Paid 1,950 NIS
Tax Ruling                       58,500    $15,500      D           April?
Travel, marketing                     0         $0
G&A (other)                       1,605       $500       D          March    Company registrar yearly fee + ESOP
Total March                                $55,500
                                                      April
            Salaries             82,479    $21,800       M          5-Apr    Assuming notice 18-Mar-20
            Benefits             25,800     $6,900       M           Auto
    HR
            Tax                   8,400     $2,300       M          20-Apr
 (Mar20)
            Nat.Insur.           12,500     $3,400       M          20-Apr
            Outsource                           $0                           TBD
Equipment                                       $0                           TBD
Office May20                          0         $0       O          15-Apr   Mandatory unless leaving office
Legal Mar20                         500       $200       D          April?   Estimate
Accounting Feb20                  1,950       $600       M          10-Apr
Travel, marketing                     0         $0       O
G&A (other)                           0     $1,000       O                   TBD
Total April                                $36,200
                                                   May
           Salaries              34,000     $9,000   M              5-May    Assuming notice 18-Mar-20
                    Case 4:20-cv-00980-KPJ Document 61-2 Filed 12/17/21 Page 3 of 3 PageID #: 3047
                                            CONFIDENTIAL INFORMATION

           Benefits          12,900     $3,500    M    Auto
    HR
           Tax                4,200     $1,200    M   20-May
 (Apr20)
           Nat.Insur.         6,250     $1,700    M   20-May
           Outsource                        $0                 TBD
Equipment                                   $0                 TBD
Office Jun20                                $0    O   15-May Mandatory unless leaving office
Legal Apr20                       0         $0    M    May   Estimate
Accounting Mar20              1,950      $600     D
Travel, marketing                 0               O
G&A (other)                       0                            TBD
Total May                               $16,000
Total March - April                   $107,700    M
Without optional & delayed             $64,000
Closing costs estimate                 $10,000
Without founders                      ($10,000)
Account                                 $32,475                Incl. CC deposit, tax refund
Delta                                  $32,000
